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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                      www.flsb.uscourts.gov

    In re:                                                     Chapter 11

    SHIFTPIXY, INC. et, al.1                                   Case No. 24-21209-LMI

          Debtors.                                             (Jointly Administered)
    _______________________________/
    EXPEDITED APPLICATION TO EMPLOY SICHENZIA ROSS FERENCE CARMEL,
         LLP, AS SPECIAL COUNSEL RETROACTIVE TO OCTOBER 28, 2024

                                          BASIS FOR EXIGENCY

             The law firm Sichenzia Ross Ference Carmel, LLP provided post-petition
             services to the estate in connection with essential securities matters. The
             CRO has reviewed records of the services provided and found they
             benefited the estate, but is unable to authorize payment as the firm was not
             authorized to be employed by this Court. The Debtor anticipates
             conversion of this case within days. Accordingly, the Debtor seeks
             hearing on this Application prior to conversion of the case.

             Shiftpixy, Inc., as debtor and debtor-in-possession (collectively, the “Debtor”), hereby

submits this application (this “Application”), pursuant sections 105(a) and 327 of title 11 of the

United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), Rule 9014 of the Local

Rules of the United States Bankruptcy Court for the Southern District of Florida (the “Local

Rules”) for entry of an emergency order authorizing, but not directing, the Debtor to employ

Sichenzia Ross Ference Carmel, LLP (“Sichenzia”) as the Debtor’s special counsel retroactive to

October 28, 2024. This Application is based upon the Affidavit of Gregory Sichenzia as Special

Counsel, a copy of which is attached hereto as Exhibit A (the “Affidavit”).



1
 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management, Inc.
The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
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        In support of this Application, the Debtor states as follows:

        1.      On October 28, 2024 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under Chapter 11 of Title 11 of the United States Code (“Bankruptcy Code”).

        2.      The Court has jurisdiction over this matter pursuant to 28. U.S.C. §§ 157 and 1334.

Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This is a core proceeding pursuant to

28 U.S.C. § 157(b)(2). The statutory predicates for the relief sought by the Debtor in this

Application are 11 U.S.C. §§ 327 and 330 and Rule 2014 of the Fed. R. Bankr. Procedure.

        3.      The Debtor wishes to employ Sichenzia as Special Counsel to compensate the firm

for its expedited efforts to facilitate compliance with certain securities laws and regulations

necessitated by the initiation of this bankruptcy proceeding.

        4.      Pre-petition, Sichenzia provided legal services to the Debtor and as a result is owed

fees for such services in the amount of $60,990.00. Sichenzia has agreed to waive its pre-petition

claim against the Debtor’s estate if this Application is approved.

        5.      Sichenzia has agreed to be compensated in accordance with the provisions set forth

in 11 U.S.C. § 330 and subject to order of this Court.

        6.      the Debtor requests authorization to disburse payment of the Special Counsel fees

without the necessity of further notice or hearing.

        7.      To the best of the Debtor’s knowledge, Sichenzia has no connection with any of

the creditors or any other parties in interest in this case.

        8.      Sichenzia has waived its pre-petition claim against the Debtor.

        9.      To the best of Debtor’s knowledge, as disclosed in the Affidavit and this

Application (i) Sichenzia is a “disinterested person” as that phrase is defined in 11 U.S.C. §

101(14), and (ii) Sichenzia has no interest adverse to the Debtor or to the estate of the Debtor on
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the matters in which the firm is to be engaged.

        10.     The Debtor believes that the retention of Sichenzia is in the best interest of the

Debtor’s estate and its creditors. The Debtor required a Special Counsel who specializes in

securities matters in order expedite the necessary filings.

        11.        For over 20 years, Sichenzia has been providing securities law services in New

York Cirt. Sichenzia’s experience includes listing companies on both the NASDAQ and New

York Stock Exchange and provide guidance to Boards of Directors and corporate managers.

Sichenzia is therefore well-qualified to act as Special Counsel to facilitate the securities filings and

in fact has done so on the strength of its pre-petition relationship with the Debtor.

        12.     The Debtor requests that this Court approve the employment of Sichenzia, as

Special Counsel for the estate.       Further, the Debtor requests that this Court approve the

compensation to Sichenzia as Special Counsel, and requests authorization to reimburse Sichenzia

for approved costs associated with the securities filings.

        13.     No prior application has been made for the relief requested herein to this or any

other Court.

        WHEREFORE, the Debtor respectfully requests the Court to enter an order authorizing the

Debtor to retain Sichenzia as its Special Counsel and granting such other and further relief as is

just and proper.

Dated January 7, 2025.                          DGIM Law, PLLC
                                                Counsel for Debtors
                                                2875 NE 191st Street, Suite 705
                                                Aventura, FL 33180
                                                Phone: (305) 763-8708

                                                /s/ Monique D. Hayes
                                                Monique D. Hayes, Esq.
                                                Florida Bar No. 087351
                                                Email: monique@dgimlaw.com
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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the Application was served via CM/ECF

Notification to all parties registered to receive electronic notice on this 7 th day of January, 2025.



                                               /s/ Monique D. Hayes
                                               Monique D. Hayes, Esq.
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                EXHIBIT A
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                             UNITED STATES BANKRUPTCY COURT
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    In re:                                                     Chapter 11

    SHIFTPIXY, INC. et, al. 1                                  Case No. 24-21209-LMI

          Debtors.                                             (Jointly Administered)
    _______________________________/

       DECLARATION IN SUPPORT OF DEBTOR’S EXPEDITED APPLICATION TO
       EMPLOY GREGORY SICHENZIA AS SPECIAL COUNSEL/CLOSING AGENT

             1.   My name is Gregory Sichenzia and I am an attorney and closing agent duly licensed

in the State of New York.

             2.   I am an agent of Sichenzia Ross Ference Carmel, LLP, a New York professional

limited liability partnership, with offices located at 1185 Avenue of the Americas

31st Floor New York, NY 10036 (“Sichenzia”) and am authorized to make this declaration on

behalf of the company in accordance with Bankruptcy Rule 2014 and Local Rule 6004-1.

             3.   I have read the Application for Employment of Sichenzia Ross Ference Carmel,

LLP and based upon my knowledge and experience of the securities industry and services

provided, I believe that the compensation proposed to be paid does not exceed customary rates in

the applicable geographic area and is reasonable for the type of employment proposed, and further

agree to be bound by the terms and the conditions represented therein.

             4.   I am experienced and qualified to represent the Debtor in connection with the

securities administration transactions referenced in the Application.




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       5.      Neither I, nor Sichenzia, its officers or directors hold or represent any interest

adverse to the estate with respect to the matters for which we are to be employed. Both I and

Sichenzia, its officers and directors are disinterested persons within the meaning of 11 U.S.C. §

101(14), as required by 11 U.S.C. §327(a).

       6.      Pre-petition, Sichenzia provided legal services to the Debtor and as a result is owed

fees for such services in the amount of $60,990.00. Sichenzia has agreed to waive its pre-petition

claim against the Debtor’s estate if this Application is approved.

       7.       Neither I nor Sichenzia, have any connection to the Debtor, Debtor’s estate, its

creditors, or any other party in interest or their respective attorneys or accountants, the Chief

Restructuring Officer, the United States Trustee, or any person employed in the office of the United

States Trustee, as required by Rule 2014 of the Federal Rules of Bankruptcy Procedure.

       8.      I further understand that the Court, in its discretion, may alter the terms, and

conditions of employment and compensation as it deems appropriate.


                                              By:   _____________________________
                                                     Gregory Sichenzia
